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                                       January 28, 2022
                                                            USDC SDNY
                                             Text
Via ECF                                                     DOCUMENT
                                                            ELECTRONICALLY FILED
The Honorable Kimba M. Wood                                 DOC #:
United States District Judge
                                                            DATE FILED: 1/31/2022
Southern District of New York
500 Pearl Street
New York, NY 10007-1312                               MEMO ENDORSED
RE:    United States v. Kozel, Case No. 19-cr-460-KMW
       Requesting extension of February 25, 2022 surrender date

Dear Judge Wood:

       We write on behalf of Todd Kozel to request a one month further extension of the
February 25, 2022 surrender date to March 25, 2022 to allow for the completion of further
medical procedures. He also needs significant dental work as a result of the radiation damage to
his jaw, work that can be completed within 60 days, and this substantial expense and added
complication should not be a burden on a federal institution.

       We are advised by Madalyn Toledo of U.S. Pretrial Services that Mr. Kozel appeared at
10:00 AM on January 27 and that his ankle monitor was successfully installed.

       The Government has advised us that they oppose this request.

       Your Honor’s consideration is greatly appreciated.

                                            Respectfully submitted,

                                            /s/Kendall B. Coffey

                                            Kendall B. Coffey
                                            Counsel for Todd Kozel

cc:    Louis Pellegrino, AUSA                             Reuest denied.
       Olga Zverovich, AUSA
       Madalyn Toledo, U.S. Pretrial Services             SO ORDERED.
       Marlon Ovalles, U.S. Pretrial Services
                                                          Dated: January 31, 2022
       Paul Hay, U.S. Probation                           New York, NY
                                                                   /s/ Kimba M. Wood
                                                          THE HONORABLE KIMBA M. WOOD
                                                          UNITED STATES DISTRICT JUDGE
